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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

ACKERMAN MCQUEEN, INC.                         §
                                               §
v.                                             §           Case No. 3:19-cv-03016-X
                                               §
GRANT STINCHFIELD                              §

             PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION
     TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(C)


        Plaintiff, Ackerman McQueen, Inc. (“AMc”), files its Response to Defendant Grant

Stinchfield’s 12(c) Motion to Dismiss Plaintiff’s Claims with Prejudice (doc. 18). In accordance

with the Local Rules, this response is supported by the Brief filed contemporaneously

herewith, which sets forth AMc’s contentions of fact and argument and authorities.

Defendant’s motion should be denied because although styled as an “affidavit,” no doubt

in an effort to cloak it with the appearance of legitimacy as a court record, Defendant’s

defamatory statement was never filed with any court or other tribunal. Instead, it was

sent directly to members of the media to stimulate press coverage as part of a smear

campaign against AMc. Thus, the written statement is not covered by the judicial

proceedings privilege.

        WHEREFORE, PREMISES CONSIDERED, AMc respectfully requests the Court to

deny Defendant’s motion to dismiss and to grant AMc such other and further relief to

which it may be justly entitled.



PLAINTIFF’S BRIEF IN SUPPORT OF ITS RESPONSE TO DEFENDANT’S MOTION
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   Dated: October 5, 2020.

                                                  Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       I hereby certify that on October 5, 2020, I filed the foregoing document with the

clerk of court for the U.S. District Court, Northern District of Texas. I hereby certify that

I have served the document on all counsel and/or pro se parties of record by a manner

authorized by Federal Rules of Civil Procedure 5(b)(2).

                                                  /s/ J. Brian Vanderwoude
                                                  J. Brian Vanderwoude


PLAINTIFF’S BRIEF IN SUPPORT OF ITS RESPONSE TO DEFENDANT’S MOTION
TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(C) – PAGE 2
